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No. $20-1D0IC Delivered © ] - -2020
Jo. $20-120 —_
. 0 6 (Ma, PEC IST
MATT MCCORMICK IN THE JUSTICE COURT
VS PRECINCT 6
AMERICANS FOR POLICE AND TROOP DENTON COUNTY, TX
POLICE LIVES MATTER
THE STATE OF TEXAS TO:
Police Lives Matter
4640 Admiralty Way Suite 500
Marina Del Rey CA 90292
YOU HAVE BEEN SUED. You may employ an attorney to help you in defending against this lawsuit. But you are

not required to employ an attorney. You or your attorney must file an answer with the Court. Your answer is due by
the end of the 14" day after the day you were served with these papers. If the 14" day is a Saturday, Sunday, or legal
holiday, your answer is due by the end of the first day following the 14" day that is not a Saturday, Sunday, or legal
holiday. Do not ignore these papets. If you do not file an answer by the due date, a default judgment may be taken
against you. For further information, consult PartV of the Texas Rules of Civil Procedure, which is available online
and also at the court listed on this citation.

This citation is issued pursuant to a petition filed by the above-named plaintiff on 08/11/2020. ‘The Plaintiff/Plaintitfs
Attorney and address is: Matt McCormick, 720 Red Fox prosper IX. 75078. Your answer may be filed with this court,
located at 1029 West Rosemeade Parkway, Carrollton, Texas 75007.

ISSUED UNDER MY HAND on this the Ist day of September, 2020

LZ.

JUDGE CHRISTOPHER LOPEZ
Justice of the Peace, Precinct Six
Denton County, Texas

 

OFFICER'S RETURN
CAME TO HAND this day of , 20. at o’elock — wm. and EXECUTED on the day of | , 20 , at

o'clock .m. to DEFENDANT by:

& DELIVERING IN PERSON a true copy of this Citation with a copy of the petition and its contents attached to:
2 DEFENDANT at

 

G DELIVERING TO THE PREMISES BY ALTERNATIVE SERVICE as permitted by RULE 501.2(e) by:

 

 

 

 

6 mailing copies of the Citation and petition with contents attached by first class mail on 20
AND EITHER:
(3 leaving copies of the Citation and petition (with contents) with 5 a person who is at least 16
years of age © found at the Defendant’s residence, or ( found at where Defendant can
reasonably be found: OR
G serving by as authorized in the Court's Order granting Alternative Service.
TO CERTIFY WHICH, witness my official signature this day of , 20

 

 

CONSTABLE, PRECINCT 6, DENTON COUNTY, TEXAS
By: . Deputy

 

 

 
Case 1:20-cv-00371-MAC Document 1-1 Filed 09/08/20 Page 2 of SePagelD #. 5
“OUNS Judge Christopher Lopez - JP6
Denton County, Texas

   
   

Case No: 9290-12056

MATT MCCORMICK In the Justice Court

 

 

Plaintiff
VS Precinct 6
AMERICANS FOR POLICE AND TROOP
Defendant(s) *, “ ee Denton County, TX
0 1846
7 ; o*

PETITION SMALL CLAIMS CASE
DEFENDANT(S) ADDRESS: 4640 Admiralty Way, Suite 500 MARINA DEL REY CALIFORNIA 90292

 

Check one:

Can individual, address in section above is correct.,
a proprictorship, partnership or a corporation, (A Registered Agent must be served ): Registered Agent
4640 Admiralty Way, Suite 500 MARINA DEL REY CALIFORNIA 90292

 

Physical Address: Street. City, State and ZIP Daytime Phone No.

COMPLAINT: The basis for the claim which entitles the plaintiff to seek relief against the defendant is:
THIS COMPANY IS A POLITCAL ACTION COMMITEE OR (PAC) THEY ARE CONDUCTING ILLEGAL ROBOCALLING TO PEOPLE

 

ON THE NATIONAL DO NOT CALL LIST WHICH IS A CRIME UNDER THE TCPA

 

 

 

RELIEF: Plaintiff seeks damages in the amount of $10,000.00
(be specific)

. and/or return of personal property as described as follows:

 

which has a value of $ .
Additionally, plaintitY seeks the following:

 

REMOVAL FROM THE COMPANYS INTERNAL DATABASE PLUS FILING FEES

 

 

SERVICE OF CITATION: Service is requested on defendants by personal service at home or work or by alternative service as allowed by the Texas
Justice Court rules of Court. Other addresses where the defendant(s) may be served are:

4640 Admiralty Way, Suite 500 MARINA DEL REY CALIFORNIA 90292

give my consent for the answer and any other motions or pleadings to be sent to my email address which is:
MATTMCCORMICK711@GMAIL.COM

 

MATT MCCORMICK

 

 

Petitioner's Printed Name

DEFENDANT(S) INFORMATION (if known):
DATE OF BIRTH:

LAST 3 NUMBERS OF DRIVER LICENSE:
LAST 3 NUMBERS OF SOCIAL SECURITY:
PHONE NUMBER:

 

 

Subscribed and sworn to before me this

Signature of Plaintiff or Attorney

720 RED FOX DR

 

Street Address of Plaintiff's Attorney. tf any, or Plaintiff if none

PROSPER TX 75078

 

City State Zip

214-684-9117

 

Phone & Fax No. of Plaintiffs Attorney, if any, or Plaintiff if none

day of , 20

 

 

 

CLERK OF THE COURT -or- NOTARY PUBLIC

Revised 7/2019
Page 3 of 5 PagelD #: 6

  
  

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Case No; S20-4 206
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MATT MCCORMIC
Plaine ———__

vs

 
  

FILED
8/11/2029 3:57 Py

Judge Christopher Lopez ~ ypg
enton County, Texas

Ia the Justice Coart

AMERICANS FoR POLICE AND TROOP Precinct 6
’ ant(s)
we Felice [veS matler Penton County, 1x

 

PETITION SMALL CLAIMS Case

' DEFENDANT(S) ADDRESs; 4640 Admiraity Way, Suite 500 MARINA DEL REy CALIFORNIA 90292
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| bf 4n individual, address in section above is Correct.,

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| 4840 Admiraity Way, Suite Soo MARINA DEL REY CAUFORNIA As Served } Registered Agent
ey, Suite 500 2

SRF
_ Physical Address: Street, City, ,

State and Zip Daytime Phone No.

       

| COMPLAINT: The basis for the claim which entitles the Plaintiff to seek relief against the defendant is:
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| THIS COMPANYy 'S A POLITCAL ACTIO! ‘AC CONDUCTING ILLEGAL ROBOCALLING To PEOPLE
ON THE NATIONAL DO NOT CALL LIST WH CHIS A CRIM NDER THE TCPA

(be specific)
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give my consent for the answer and any other motions or pleadings to be sent to my email address which is:

 

 

 

 

 

 

 

 

 

 

TIMCCORMICK7 11 @GMAIL.COM . .
.
TT MCCORMICK . Signature of Plaintiff or Atiorncy
ioner’s Printed Name
. 720 RED FOX DR _ so
TOF NT(S) INFORMATION (if known) Street Address of Plaintiffs Attorney, any, or Plain if aone
TE OF BIRTH: ‘.
ST 3 NUMBERS OF DRIVER LICENSE: prosper x me
AST 3 NUMBERS OF SOCIAL SECURITY: me ae
INE NUMBER:
eeeeesseittiieeenee. en
214-684-0117

 

i intiff if none
Phone & Fax No, of Plaintiff's Attorney, if any, or Plaintiff if no

+20,
Subscribed and sworn to before me this day of

 

CLERK OF THE COURT -or- NOTARY PUBLIC
d 7/2019

 
Case 1:20-cv-00371-MAC Document 1-1 Filed 09/08/20 Page 4 of 5 PagelD#: 7
PLAINTIFF’S REQUEST FOR SERVICE OF PROCESS

The undersigned Plaintiff requests that service of its Cause No.
be served on the Defendant(s) named below by either the Constable, the Clerk of the Court (via Certified
Mail, Restricted Delivery, or private process server as checked below. Plaintiff is responsible for accurately
providing all information requested below and assuring itself that service of process has subsequently been

accomplished. [Confirmed by Plaintiff's signature below.]
NOTE: A SEPARATE REQUEST FOR SERVICE OF PROCESS FORM WILL BE REQUIRED FOR EACH DEFENDANT.

 

 

 

 

 

Defendant(s):

_] Constable Service Information
County: Precinct:
Constable:

 

Constable’s Street Address:
City, State, Zip:

 

 

Service fee:

 

(_] Certified Mail Restricted Delivery Information (*)
(addressed to Defendant(s) or Registered Agent, as applicable)

 

Addressee’s Name:
Addressee’s Street Address:
City, State, Zip:

 

 

 

L] Private Process Server

Citations to be served by a Private Process Server must be picked up at the court.

 

Name:
Phone:
Texas Certification #:

 

 

 

STATEMENT OF PLAINTIFF’S RESPONSIBILITY: | am aware that | am responsible for following-up with the
Court to determine whether service of process has been accomplished. it is possible that the Defendant may
not be located or readily subject to service for some reason, and (*)Certified Mail with Restricted Delivery is
often returned to the Court by the U.S. Postal Service without sufficient proof that the specific, named
Defendant received the Certified Mail. The result of improper, or failure of service in these events will lead to
the complete halt or other substantial delay in the progress of my suit, and can lead to the incurrence of
additional service costs or the possibility of dismissal of my Case.

 

 

DATE PLAINTIFF’S SIGNATURE
Case 1:20-cv-00371-MAC Document 1-1 Filed 09/08/20 Page 5of5 PagelD#: 8

 

 

NO.

MATT MCCORMICK —_________—

ent rT IN THE JUSTICE COURT
Xt
( PRECINCT SIX

VS. )(

AMERICANS FOR POLICE ANT )(
( DENTON COUNTY, TEXAS

SERVICEMEMBERS CIVIL RELIEF ACT AFFIDAVIT
STATE OF TEXAS (
COUNTY OF DENTON (

BEFORE ME, the undersigned authority, personally appeared the below-named affiant, who upon oath
deposed and stated:

I am over the age of eighteen (18) years and am competent to make this affidavit. I am the
Plaintiff

[_]Plaintiff's agent

in the above-entitled and numbered matter.

I have made a personal investigation and have attached the following documentation (required):
SEE ATTACHED DOCUMENTS

As a result of the investigation or review, it is my belief that the above-named defendant(s)

is not in the military service on active duty, and is not a dependent of a servicemember on active duty
[_]is in the military service on active duty
[V]I have been unable to determine whether or not the defendant(s) is in the military service on active duty

I understand that any false statements in this document are made under penalty of perjury, and that
making a false statement is a violation of Federal Law and is subject to both fine and imprisonment.

| AUGUST 20
DATED this day of , 20

 

 

Affiant

SUBSCRIBED AND SWORN TO before me this day of . 20

 

 

[] Justice of the Peace
[J] Notary Public
[]Court Clerk
